            IN THE DISTRICT COURT OF THE UNITED STATES
           FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                         ASHEVILLE DIVISION

                          CRIMINAL NO. 1:01CR48


UNITED STATES OF AMERICA                   )
                                           )
                                           )
                    VS.                    )             ORDER
                                           )
                                           )
ANTONIO GLOVER                             )
                                           )


         THIS MATTER is before the Court on Defendant’s motion to file a

motion for reduction of sentence and supporting exhibits under seal.

         For the reasons stated in the motion and for cause shown,

      IT IS, THEREFORE, ORDERED that the Defendant’s motion is

ALLOWED, and the motion for reduction of sentence and supporting

exhibits shall be filed under seal and remain sealed until further order of this

Court.

                                        Signed: November 3, 2008




    Case 1:01-cr-00048-MR-WCM     Document 442     Filed 11/03/08   Page 1 of 1
